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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

Larry Fields,

       Plaintiff,

                v.                                       Case No. 1:21cv35

Cincinnati Police Department, et al.,

       Defendants.

                              JUDGMENT IN A CIVIL CASE

       [     ] JURY VERDICT: This action came before the Court for a trial by jury.
               The issues have been tried and the Jury has rendered its verdict.

      [ X]      DECISION BY COURT: This action came to trial or hearing before the
                Court. The issues have been tried or heard and a decision has been
                rendered.


IT IS ORDERED AND ADJUDGED: The Court has reviewed the Report and
Recommendation (Docs. 19 and 25) and hereby ADOPTS said Report and
Recommendation. Accordingly, it is ORDERED that the R&R (Doc. 6) of the Magistrate
Judge is hereby ADOPTED.

1. The City and Property Management Defendants’ Motions to Dismiss (Docs. 10, 12) are
GRANTED;

       a. The claims against these Defendants are dismissed with prejudice for failure to
state a claim;

2. This action is DISMISSED against Defendant Leinberger pursuant to Fed. R. Civ. P. 4(m)
for failure to perfect service. a. Dismissal of the claim against Defendant Leinberger is with
prejudice for lack of prosecution; and

3. This matter is CLOSED and TERMINATED from the active docket of the Court.


Date: October 15, 2021                      Richard W. Nagel, Clerk
                                           Clerk

                                     By:           S/Krista Zeller
                                           Deputy Clerk
